       Case 3:16-bk-02230-PMG              Doc 993      Filed 04/07/18       Page 1 of 19




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


IN RE:

RMS Titanic, Inc., et al.,1                                        CHAPTER 11 (Jointly Administered)

                                                                   Case No. 3:16-bk-02230-PMG


                Debtor.


         DEBTORS’ RESPONSE IN OPPOSITION TO MOTION FOR ORDER
          AS TO INAPPLICABILITY OF AUTOMATIC STAY (BY LOUIS F.
         EYDE ORLANDO, LLC AND GEORGE F. EYDE ORLANDO, LLC)
             AND PRELIMINARY OBJECTION TO THE APPLICATION
         FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE RENT

         RMS Titanic, Inc. (“RMST”) and its affiliate debtors and debtors in possession in

the above-captioned case (collectively, the “Debtors”), by and through their undersigned

counsel, hereby file this response in opposition (the “Response”) to the Motion for Order

as to Inapplicability of Automatic Stay (By Louis F. Eyde Orlandlo, LLC and George F.

Eyde Orlando, LLC) [D. E. 972, 975] (the “Eyde Motion”) and preliminary objection to

the Application for Allowance and Payment of Administrative Rent [D. E. 979] (the

“Application”), respectfully showing the Court as follows:




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions
International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and
Dinosaurs Unearthed Corp. (7309). The Debtors’ service address is 3045 Kingston Court, Suite I, Peachtree
Corners, Georgia 30071.
      Case 3:16-bk-02230-PMG          Doc 993     Filed 04/07/18   Page 2 of 19




                                  Preliminary Statement

       The Eyde Motion and Application concern a dispute pertaining to that certain Lease

for Premier Exhibition Management LLC entered into by and between Debtor Premier

Exhibition Management, LLC (“Premier” or “Tenant”) and Louis J. Eyde Orlando, LLC

along with George F. Eyde Orlando, LLC (collectively, the “Landlord”), dated as of June

5, 2017 (the “Lease”), with respect to certain real property and improvements located in

Orlando, Florida intended for Premier’s Dinosaur Exhibition (the “Premises”). Shortly

after taking possession of the Premises in or around September 2017, after having invested

nearly $350,000 in a buildout of the Premises, Premier was informed by local building

officials that it would not be able to obtain a certificate of occupancy for the Premises.

According to the officials, there were eleven (11) expired permits associated with the

Premises that the Landlord would first need to address before a certificate of occupancy

would be issued.

       On or about the end of March 2018, the Landlord was able to clear the last of the

expired permits. However, Premier is still unable to obtain a certificate of occupancy. On

or around April 2, 2018, Premier was informed that its certificate of occupancy remains on

hold due to outstanding utility capital fees associated with the Premises that the Landlord

has not paid. The inability to obtain a certificate of occupancy for the Premises has caused

Premier to delay its full marketing efforts for the Dinosaur Exhibition.       As a result,

revenue for the venue has suffered and Premier has postponed – and in some cases lost –

significant media and advertising opportunities at the venue.




                                             2
      Case 3:16-bk-02230-PMG           Doc 993     Filed 04/07/18   Page 3 of 19




          The relief requested in the Eyde Motion should be denied for at least two reasons.

First, the Lease was entered into post-petition in the ordinary course of Premier’s business

and is, therefore, property of Premier’s bankruptcy estate and subject to the automatic stay.

Accordingly, the Eyde Motion should be denied to the extent it seeks an order finding

either that the automatic stay does not apply to the Lease or, alternatively, that the

Landlord is entitled to relief from the automatic stay to exercise its non-bankruptcy

remedies with respect to the Premises and Lease – due to the continued inability of Premier

to obtain a certificate of occupancy, among other things.        Second, the Lease plainly

provides that the commencement date thereunder shall be postponed, and by extension

postponing Premier’s obligation to pay rent, until the Premises are ready for Premier’s

occupancy. The Premises are in fact not ready for Premier’s “occupancy” given that local

officials continue to withhold a certificate of occupancy due to outstanding items under the

Landlord’s control. Accordingly, the Application is improper at this time and should be

denied or, alternatively, continued until such time as Premier’s certificate of occupancy is

issued for the Premises and the parties have an opportunity to conduct discovery and

schedule a final evidentiary hearing on what value, if any, the Lease and Premises

benefitted the estate prior to the resolution of the certificate of occupancy and related

issues.

                                   Jurisdiction and Venue

          1.     The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and

1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this district

under 28 U.S.C. §§ 1408 and 1409.



                                              3
      Case 3:16-bk-02230-PMG           Doc 993     Filed 04/07/18     Page 4 of 19




                                         Background

       2.      On June 14, 2016 (the “Petition Date”), each of the Debtors filed a

voluntary petition in this Court for relief under Chapter 11 of Title 11 of the United States

Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”).

       3.      The Debtors continue to manage and operate their businesses as debtors in

possession under Bankruptcy Code Sections 1107 and 1108.

       4.      On August 24, 2016, the United States Trustee appointed an Official

Committee of Unsecured Creditors (the “Creditors’ Committee”) and an Official

Committee of Equity Security Holders (the “Equity Committee”, and together with the

Creditors’ Committee, collectively, the “Committees”) [D.E. 166, 167].

       5.      On June 12, 2017, Premier and Landlord entered into the Lease. Premier

took possession of the Premises in September of 2017 and – without notice or knowledge

of the Landlord’s expired permits or unpaid utility fees – executed an acknowledgment of

the Lease commencement date.

       6.      Shortly thereafter, Premier was issued a citation by local code enforcement

due to exterior signage exceeding the size limitation of local zoning. In connection with

that citation and an inspection of the Premises by local officials, Premier first learned of the

expired permits associated with the Premises.

       7.      Premier worked diligently to submit variance applications and related

documents to local building and zoning officials to address the signage violation and obtain

to a certificate of occupancy. However, it became clear in or around November 2017, that




                                               4
      Case 3:16-bk-02230-PMG          Doc 993     Filed 04/07/18     Page 5 of 19




local officials would not issue Premier’s certificate of occupancy until all eleven (11)

expired permits were cleared by the Landlord.

       8.      Premier engaged a local permit expediter and consultant to work with the

Landlord and local officials to facilitate the removal and remediation of the expired

permits. Even so, the expired permits were not fully cleared by the Landlord until the end

of March 2018.     The expired permits, which can only be addressed by the Landlord,

resulted in at least four (4) months of delay in Premier obtaining its certificate of

occupancy for the Premises (notably, the delay is ongoing).

       9.      The inability to obtain a certificate of occupancy for the Premises has caused

Premier to delay its full marketing efforts for the Dinosaur Exhibition.        As a result,

revenue for the venue has suffered and Premier has postponed – and in some cases lost –

significant media and advertising opportunities at the venue. Consequently, Premier has

suffered damages due to the Landlord’s failure to properly deliver the Premises on the

intended commencement date.

       10.     On April 2 and 5, 2018, Premier had its final hearings before local officials

to address the signage variance application.      In connection with this hearing, Premier

learned of an additional setback with respect to the certificate of occupancy: local officials

would not release the certificate of occupancy on account of Landlord’s past due utility

capital and equipment fees with respect to the Premises. As of the date hereof, the issue

remains unresolved.




                                              5
      Case 3:16-bk-02230-PMG          Doc 993     Filed 04/07/18     Page 6 of 19




       11.     Subsequent to the filing of the Eyde Motion and Application by the

Landlord, the parties engaged in negotiations in an attempt to resolve the outstanding issues

associated with the Lease and Premises; however, to date no agreement has been reached.

                                     Relief Requested

       12.     With respect to the Eyde Motion, Premier respectfully seeks the entry of an

order (a) holding the Lease is property of the estate, and therefore subject to the automatic

stay applicable under Section 362 of the Bankruptcy Code and (b) denying the Eyde Motion

to the extent it seeks relief from the automatic stay to pursue non-bankruptcy remedies with

respect to the Lease, Premier, or the Premises.

       13.     With respect to the Application, Premier respectfully seeks the entry of an

order denying the Application or, alternatively, continuing a ruling thereon until such time

as Premier’s certificate of occupancy is issued and entering a scheduling order to permit the

parties to conduct discovery and schedule a final evidentiary hearing on what value, if any,

the Lease and Premises benefitted the estate prior to the resolution of the certificate of

occupancy and related issues.

                                         Argument

       14.     The Lease is property of the estate. Section 541(a) of the Bankruptcy Code

provides: “The commencement of a case under section 301, 302, or 303 of this title creates

an estate. Such estate is comprised of . . . all legal or equitable interests of the debtor in

property as of the commencement of the case . . . [and] any interest in property that the

estate acquires after the commencement of the case.”         11 U.S.C. §§ 541 (a)(1), (7)

(emphasis added). “An example of the application of section 541 (a)(7) would be if the




                                              6
      Case 3:16-bk-02230-PMG           Doc 993     Filed 04/07/18     Page 7 of 19




trustee entered into a contract after the commencement of the case. The estate’s interest in

such a contract would, pursuant to section 541 (a)(7), be property of the estate.” In re

Carroll, 903 F.2d 1266, 1270 (9th Cir. 1990) (internal citations and quotations omitted).

See also Jahn v. Bacon (In re East Tech Co.), 528 B.R. 743, 752 (Bankr. E.D. Tenn. 2015

(“The [debtor in possession] entered into the lease for the for the benefit of the estate. As

such, the leasehold interest became property of the estate.”)

       15.     The Landlord’s contention that Premier’s interest under the Lease “is not

property of the bankruptcy estate” because “[t]he Lease was entered into post-petition,”

Eyde Motion ¶ 8A, lacks factual or legal support. The plain language of Section 541(a)(7)

of the Bankruptcy Code provides for the inclusion in the bankruptcy estate of property

acquired post-petition. See 11 U.S.C. § 541(a)(7); see generally, 5 Collier on Bankruptcy

¶ 541.16 (16th ed. 2018).     Moreover, relevant precedent demonstrates that after-acquired

contracts – including leases (and any interest thereunder) – become property of the estate

pursuant to section 541(a)(7). See, e.g., In re East Tech Co., 528 B.R. at 752; In re

Carroll, 903 F.2d at 1270; Ellenberg v. R.J. Griffin & Co. (In re Midland Mech.

Contractors, Inc.), 196 B.R. 653, 657 n.3 (Bankr. N.D. Ga. 1996) ( “. . . since the

Debtor entered into the contract at issue in his capacity as debtor in possession, [it] thereby

ma[de] the contract itself an asset of the bankruptcy estate[]”).

       16.     The Landlord’s reliance on Henderson v. White (In re Henderson), 560 B.R.

365 (Bankr. D.N.M. 2016) is misplaced. While the Eyde Motion cites to Henderson as

support for their contention that the Lease and any interest thereunder “is not property of

the bankruptcy estate,” Henderson’s sweep is far narrower and must be limited to its facts.




                                               7
      Case 3:16-bk-02230-PMG           Doc 993     Filed 04/07/18     Page 8 of 19




Henderson simply provides that, under certain facts, the bankruptcy estate of a Chapter 7

debtor does not include a lease entered into post-petition; Henderson does not state that

post-petition leases are never part of the bankruptcy estate. See id. at 372.

       17.     In Henderson, the debtors petitioned for Chapter 7 relief but failed to

schedule their residential lease as an unexpired lease (or, for that matter, at all).

Henderson, 650 B.R. at 371.        Then, post-petition, the debtors entered into what they

contended was a lease “extension” of their existing pre-petition lease; however, they never

amended their schedules to reflect the “extension.” Id. Shortly thereafter, the debtors

failed to pay rent and their landlord began dispossessory proceedings, after which the

debtors filed an adversary proceeding against their landlord seeking a determination that the

dispossessory action violated the automatic stay. Id. at 368 – 69.

       18.     The court found for the landlord, holding that the debtors’ failure to

schedule their pre-petition lease and their subsequent failure to amend their schedules to

include their post-petition lease “extension” conclusively established that the “extension”

was actually “a separate, post-petition agreement” that did not “extend the term of an

unexpired, pre-petition lease.” Id. Accordingly, the court held that the lease “extension”

was not part of the debtors’ bankruptcy estate and that the landlord’s actions to enforce the

post-petition lease did not violate the automatic stay. Id.

       19.     Given that Henderson was a Chapter 7 case, the court’s conclusions with

respect to the post-petition lease are uncontroversial. In a Chapter 7 case, the petition for

relief “separat[es] pre-petition and post-petition assets to provide a fresh start for a debtor

who has declared Chapter 7 bankruptcy. Thus, unlike a case filed under Chapter 11 or 13,




                                               8
      Case 3:16-bk-02230-PMG           Doc 993     Filed 04/07/18     Page 9 of 19




the Chapter 7 debtor retains possession of property – or legal claims – acquired after he

files his bankruptcy petition.” Ortega v. Bel Fuse, Inc., 546 B.R. 468, 470 (S.D. Fla.

2016) (emphasis added) (internal citations omitted).

       20.      In other words, “[d]espite the fact . . . section 541(a)(7) appears to

mandate the inclusion of post-petition property in the bankruptcy estate, courts distinguish

between petitions filed under Chapter 7 and those filed under Chapter 11 and 13.” Id. See

also In re Brannan, 40 B.R. 20, 25 (Bankr. N.D. Ga. 1984). Put simply, “property

acquired postpetition by an individual debtor is usually not property of the estate.” 5

Collier on Bankruptcy ¶ 541.02 (16th 2018) (emphasis in original).

       21.     This distinction is crucial when comparing Chapter 7 precedent to Chapter

11 precedent. In contrast to relief under Chapter 7, “at the filing of a typical Chapter 11

case. . . . All of the assets of the debtor, pre-petition and post-petition, are applied to the

reorganization effort . . . .” In re Brannan, 40 B.R. at 25 (emphasis added). Thus, after-

acquired property of a Chapter 11 debtor-in-possession becomes property of the estate

pursuant to 11 U.S.C. § 541(a)(7). See, e.g., MacKenzie v. Neidorf (In re Neidorf), 534

B.R. 369, 371-72 (B.A.P. 9th Cir. 2015) (identifying the three disjunctive factors utilized

within the Ninth Circuit to determine whether after-acquired property becomes property of

the estate as opposed to property of the debtor, individually).

       22.     Here, the Lease was entered into post-petition, in the ordinary course of

business of the Debtors, and is, therefore, property of the Debtors’ estate pursuant to both

the plain text of Bankruptcy Code Section 541(a)(7) and all relevant precedent. See id.




                                              9
      Case 3:16-bk-02230-PMG           Doc 993       Filed 04/07/18     Page 10 of 19




(“For the after-acquired interest to be considered property of the estate under § 541(a)(7)

the interest [must be] . . . acquired in the estate’s normal course of business.”)

       23.     Given that the Lease is property of the estate, the automatic stay applies. 11

U.S.C. § 362(a)(3) provides that “a petition filed under section 301, 302, or 303 of this

title . . . operates as a stay, applicable to all entities, of – . . . any act to obtain possession

of property of the estate or of property from the estate or to exercise control over property

of the estate.” Id. “A common example is a lease of real property. Clearly, an attempted

ouster, after the commencement of the case, of a debtor who is a lessee would be stayed

under section 362(a)(3).” 3 Collier on Bankruptcy ¶ 362.03 (16th ed. 2018); accord In re

Bos. Bus. Machs., 87 B.R. 867 (Bankr. E.D. Pa. 1988); In re East Tech Co. 528 B.R. at

751-52.

       24.     The Landlord is not entitled to relief from the stay. Although Premier began

withholding rent in January 2018 due to the inability to obtain a certificate of occupancy, it

disputes what rent, if any, is currently due and owing under the Lease.                The Lease

provides, among other things, for the postponement of the commencement date of the term

of the Lease: “In the event Landlord fails to deliver the Premises on the Commencement

Date because the Premises are not then ready for occupancy . . . the Commencement Date

of this Lease shall be postponed until such time as the Premises are ready for Tenant’s

occupancy . . .” Lease ¶ 3.1. Any delay of the Commencement Date effects the rent due

and owing under the Lease, as Minimum Rent due under the Lease is “payable in advance

. . . on the first day of each calendar month included in the Lease Term.” Lease ¶ 5.1(a)

(emphasis added). Naturally, the Lease Term does not begin until the Commencement




                                                10
       Case 3:16-bk-02230-PMG        Doc 993      Filed 04/07/18   Page 11 of 19




Date. Lease ¶ 3.1 (“Initial Term: The Tenant is to have and to hold the Premises for the

term provided in Article 1.1 [‘Lease Term’], commencing on the Commencement Date . .

.”).

        25.   Because of the Landlord’s failure to address the expired permits and unpaid

utility capital charges, Premier has not yet been issued a certificate of occupancy. Without

a certificate of occupancy, the premises are not “ready for occupancy”; therefore, the

Landlord has failed to satisfy a condition precedent to the beginning of the “Initial Term”

and Tenant’s corresponding duty to remit rent. Consequently, the Eyde Motion should be

denied to the extent it seeks relief from the automatic stay to exercise any non-bankruptcy

remedies with respect to Premier, the Lease, or the Premises.

        26.   Similarly, the Application should also be denied. The lack of a certificate of

occupancy, caused by the Landlord’s failure to deliver the Premises free of expired permits

and utility charge assessments, has significantly hindered Premier’s ability to fully realize

the benefits of the Lease and Premises, and resulted in increased expense and lost revenue

to Premier. And, pursuant to Section 3.1 of the Lease, Premier’s obligation to pay rent

was and remains tolled due to the postponement of the commencement date thereunder.

        27.   Alternatively, requests that the Application be continued until such time as

Premier is able to obtain a certificate of occupancy for the Premises and the entry of a

scheduling order providing discovery on the Application and scheduling a final evidentiary

hearing thereon.




                                             11
Case 3:16-bk-02230-PMG       Doc 993      Filed 04/07/18   Page 12 of 19




 WHEREFORE, the Debtors respectfully request that the Court enters an order:

 (a)   Finding that the Lease is property of the Debtors’ bankruptcy estate;

 (b)   Applying the automatic stay to the Lease and all actions arising pursuant to

       the Lease;

 (c)   Denying the Landlord’s petition for relief from the automatic stay;

 (d)   Denying the Landlord’s application for administrative rent, or alternatively,

       continuing the Application and entering a scheduling order providing for

       discovery and a final hearing thereon; and

 (e)   Granting such other and further relief as may be just and proper.

                             NELSON MULLINS RILEY
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                                     12
     Case 3:16-bk-02230-PMG           Doc 993   Filed 04/07/18   Page 13 of 19




                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was
electronically filed with the Clerk of the Court using CM/ECF on April 7, 2018. I also
certify that the foregoing document is being served this day on the following counsel of
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                                           13
     Case 3:16-bk-02230-PMG          Doc 993      Filed 04/07/18   Page 14 of 19




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                                             14
     Case 3:16-bk-02230-PMG           Doc 993   Filed 04/07/18    Page 15 of 19




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                                           15
     Case 3:16-bk-02230-PMG           Doc 993     Filed 04/07/18   Page 16 of 19




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Via U.S. Mail

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                                             16
     Case 3:16-bk-02230-PMG   Doc 993   Filed 04/07/18    Page 17 of 19




A.N. Deringer, Inc.                 ATS, Inc.
PO Box 11349                        1900 W. Anaheim Street
Succursale Centre-Ville             Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                      CBS Outdoor/Outfront Media
30 Rockefeller Plaza                185 US Highway 48
54th Floor                          Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                  Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor         709 Miner Avenue
Vancouver, BC V6C 3R8               Scarborough, ON M1B 6B6

Expedia, Inc.                       George Young Company
10190 Covington Cross Drive         509 Heron Drive
Las Vegas, NV 89144                 Swedesboro, NJ 08085
Gowlings                            Hoffen Global Ltd.
550 Burrard Street                  305 Crosstree Lane
Suite 2300, Bental 5                Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications          MNP LLP
5230 W. Patrick Lane                15303 - 31st Avenue
Las Vegas, NV 89118                 Suite 301
                                    Surrey, BC V3Z 6X2

Morris Visitor Publications         NASDAQ Stock Market, LLC
PO Box 1584                         805 King Farm Blvd.
Augusta, GA 30903                   Rockville, MD 20850

National Geographic Society         NYC Dept. of Finance
1145 - 17th Avenue NW               PO Box 3646
Washington, DC 20036                New York, NY 10008

PacBridge Limited Partners          Pallet Rack Surplus, Inc.
22/F Fung House                     1981 Old Covington Cross Road NE
19-20 Connaught Road                Conyers, GA 30013
Central Hong Kong




                                   17
     Case 3:16-bk-02230-PMG          Doc 993   Filed 04/07/18    Page 18 of 19




Screen Actors Guild                        Seaventures, Ltd.
1900 Broadway                              5603 Oxford Moor Blvd.
5th Floor                                  Windemere, FL 34786
New York, NY 10023

Sophrintendenza Archeologica               Syzygy3, Inc.
di Napoli e Pompei                         231 West 29th Street
Piazza Museo 19                            Suite 606
Naples, Italy 80135                        New York, NY 10001

Time Out New York                          TPL
405 Park Avenue                            3340 Peachtree Road
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                                           Atlanta, GA 30326

TSX Operating Co.                          Verifone, Inc.
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                                          18
       Case 3:16-bk-02230-PMG      Doc 993   Filed 04/07/18   Page 19 of 19




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                                        19
